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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    In re:                                                        Chapter 11

    WELLPATH HOLDINGS, INC., et al., 1                            Case No. 24-90533 (ARP)

              Debtors.                                            Jointly Administered


                 LIMITED OBJECTION TO DEBTORS’ EMERGENCY MOTION FOR
                     ENTRY OF INTERIM AND FINAL ORDERS TO ENFORCE
                       THE AUTOMATIC STAY OR IN THE ALTERNATIVE
                 EXTEND THE AUTOMATIC STAY TO NON-DEBTOR DEFENDANTS
                                   [Relates to Dkt. No. 17]

             Jamie Vinson, Administrator of the Estate of Philemon S. Vinson (“Vinson”), files this

Limited Objection to Debtors’ Emergency Motion for Entry of Interim and Final Orders to Enforce

the Automatic Stay or in the Alternative Extend the Automatic Stay to Non-Debtor Defendants (the

“Stay Motion”) and would respectfully show the Court as follows:

                                                       I.
                                                   Background

             1.     Prior to Debtors’ Petition Date, Vinson filed suit in the Circuit Court for the City

of Norfolk, Virginia on behalf of decedent Philemon S. Vinson (“Decedent”), a twenty-four (24)

year old inmate who committed suicide at the Norfolk Virginia City Jail just four (4) days after

being taken into custody on August 13, 2022. 2 In the Subject Lawsuit, Vinson asserts claims

against:

             •      City of Norfolk Sheriff Jospeh P. Brown (“Sheriff Brown”);


1
       A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims
      and noticing agent as https://dm.epiq11.com/Wellpath. The Debtors’ services address for these chapter 11 cases
      is 3340 Perimeter Hill Drive, Nashville, Tennessee 37211.
2
      The “Subject Lawsuit” is styled as Jamie Vinson, Administrator of the Estate of Philemon S. Vinson v. Wellpath,
      LLC, et. al., pending in The Circuit Court for the City of Norfolk and bearing Case No. CL24-5057. See First
      Amended Complaint, attached as Exhibit 1.

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          •         City of Norfolk Sheriff’s Office Chief of Staff Wayne Handley (“Chief Handley”);

          •         City of Norfolk Sheriff’s Deputy Cinclair Howard (“Deputy Howard”);

          •         City of Norfolk Sheriff’s Office Director of Mental Health Services Anne
                    Purkerson (“Director Purkerson”);

          •         City of Norfolk Sheriff’s Office Director of Inmate Health Services Melissa
                    Peppenhorst (“Director Peppenhorst”);

          •         Debtor Wellpath LLC (“Wellpath”); and

          •         Wellpath employee Sharon Rice (“Nurse Rice”). 3

Among other things, Vinson alleges that Decedent’s death resulted from the grossly negligent

understaffing of the City of Norfolk Jail and grossly negligent treatment provided to Decedent

after his brief incarceration. As set forth in detail in Exhibit 1, Vinson asserts the following claims

against Defendants:


         Defendant                Relationship to                                 Claims
                                      Debtor
    Sheriff Baron               N/A                          Wrongful Death—Gross Negligence,
                                                             Negligence, and Willful and Wanton
                                                             Negligence

                                                             Section 1983 Deprivation of Civil Rights
    Chief Handley               N/A                          Wrongful Death—Gross Negligence,
                                                             Negligence, and Willful and Wanton
                                                             Negligence

                                                             Section 1983 Deprivation of Civil Rights
    Deputy Howard               N/A                          Wrongful Death—Gross Negligence,
                                                             Negligence, and Willful and Wanton
                                                             Negligence

                                                        Section 1983 Deprivation of Civil Rights
    Director Purkerson          Former         Wellpath Wrongful Death--Gross Negligence
                                employee,       current

3
      Collectively, Sheriff Baron, Chief Handley, Deputy Howard, Director Purkerson, Director Peppenhorst, Debtor
      Wellpath, and Nurse Rice are the “Defendants.”

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                           employee of Norfolk
                           Sheriff’s Office
 Director Peppenhorst      Former       Wellpath Wrongful Death—Gross Negligence
                           employee,      current
                           employee of Norfolk Section 1983 Deprivation of Civil Rights
                           Sheriff’s Office
 Wellpath                  Debtor                 Vicarious Liability for claims against Nurse
                                                  Rice and certain claims against Directors
                                                  Purkerson and Peppenhorst

                                                     Section 1983 Deprivation of Civil Rights
 Nurse Rice                Wellpath employee         Wrongful Death—Negligence; Section 1983
                                                     Deprivation of Civil Rights

        2.      On November 11, 2024 (“Petition Date”), Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code. On the Petition Date, the Debtors filed the Stay

Motion.

        3.      In connection with the first day pleadings, including the Stay Motion, Timothy J.

Dragelin, Debtors’ and non-Debtor Affiliates’ Chief Restructuring Officer and Chief Financial

Officer stated that:

        •       Debtors provide health care to vulnerable patients in clinical environments,
                including correctional facilities, inpatient and residential treatment facilities,
                forensic treatment facilities, and civil commitment centers in approximately 420
                facilities in 39 states;

        •       In 2023, the growth trend for Debtors did not continue due to, among other things,
                escalating operating and labor costs, rising professional liability expenses, and
                underperforming contracts; and

        •       “As of the Petition Date, I understand there are more than 1,500 claims and
                Lawsuits outstanding against the Debtors and certain Non-Debtor Defendants—
                e.g., certain Professional Corporations and their respective PC Physicians, the
                directors and officers of certain of the Debtors’ non-Debtor affiliates, and the
                Debtors’ consultant and private equity sponsor, HIG. I further understand many of
                these Lawsuits are active, have hearings scheduled within the next few weeks, and
                require timely deliverables from the Debtors within the near future. In addition, I
                understand these Lawsuits, because of a potential connection to the Debtors, may
                result in an inquiry against the Debtors themselves [and] Debtors may have to
                indemnify Professional Corporations and the PC Physicians for losses and causes
                in conjunction with the Professional Corporations’ operations. I believe any costs,

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               expenses, or losses incurred by the Professional Corporations or the PC Physicians
               would actually be borne by the Debtors’ estates.”

Declaration of Timothy J. Dragelin as Chief Restructuring Officer and Chief Financial Officer of

Wellpath Holdings, Inc. and Certain of its Affiliates and Subsidiaries in Support of the Debtors’

Chapter 11 Proceedings and First Day Pleadings [Dkt. 20] (“Dragelin Declaration”) at pp. 3, 16

and 42. The Dragelin Declaration does not identify the “certain Professional Corporations and

their respective PC Physicians.” Nor does the Dragelin Declaration affirmatively state that the

Debtors have agreements to indemnify such parties, only that the Debtors “may have to indemnify

Professional Corporations and PC Physicians for losses caused in conjunction with the

Professional Corporations’ operations.” Id. at ¶ 112.

       4.      On November 12, 2024, Debtors filed the Stay Motion, asking the Court to stay, all

lawsuits in which a Debtor is a named defendant, including claims against non-Debtor defendants

like Sheriff Baron, Chief Handley, Deputy Howard, Director Purkerson, Director Peppenhorst, and

Nurse Rice (collectively, the “Non-Wellpath Defendants”). See Dkt. 17-1. A final hearing is

scheduled for December 5, 2024.

                                               II.
                                            Objection

       5.      Debtors have produced no evidence that the claims against the Non-Wellpath

Defendants in the Subject Lawsuit should be stayed. The unusual circumstances that could support

the relief do not exist here. In Zale, the Fifth Circuit explained that “the debtor’s stay may be

extended to non-bankrupt parties in ‘unusual circumstances’” which include “1) when the non-

debtor and the debtor enjoy such an identity of interests that the suit against the non-debtor is

essentially a suit against the debtor and 2) when the third-party action will have an adverse impact

on the debtor’s ability to accomplish reorganization.” Feld v. Zale Corp. (In re Zale), 62 F.3d



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746, 761. If neither circumstance exists, courts “may not enjoin the third-party action.” Id.

       6.      It is difficult to understand how Vinson’s litigation against employees of the City

of Norfolk Sheriff’s Office could adversely impact Wellpath’s potential reorganization. On the

other hand, it is easy to understand how staying Vinson’s claims against the Non-Wellpath

Defendants delays justice and inappropriately interferes with Vinson’s ability to prosecute his

claims. In any event, it is Debtors’ motion and their burden. And Debtors have thus far produced

no evidence that the Court should stay Vinson’s claims against the Non-Wellpath Defendants.

Accordingly, Vinson respectfully requests that the Court deny Debtors’ request for entry of a final

order imposing a country-wide, blanket stay of all claim in any lawsuit naming a Debtor.

       7.      Reservation of Rights. Vinson reserves the right to amend or supplement these

Objections prior to final hearing and to file a motion to lift the stay as to the Subject Lawsuit.

                                            Conclusion

       For the above reasons, Vinson respectfully requests that the Bankruptcy Court deny the

Stay Motion.

Dated: December 2, 2024                                Respectfully submitted,

                                                       MEHAFFY WEBER, P.C.

                                                       /s/Holly C. Hamm
                                                       Holly C. Hamm
                                                       State Bar No.24036713
                                                       HollyHamm@mehaffyweber.com
                                                       Blake Hamm
                                                       State Bar No. 24069869
                                                       BlakeHamm@mehaffyweber.com
                                                       P.O. Box 16
                                                       Beaumont, TX 77704
                                                       Telephone: (409) 835-5011
                                                       Facsimile: (409) 835-5177

                                                       ATTORNEYS FOR JAMIE VINSON,
                                                       ADMINISTRATOR OF THE ESTATE
                                                       OF PHILEMON S. VINSON



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                                CERTIFICATE OF SERVICE
        I hereby certify that on this the 2nd day of December 2024, I caused the foregoing objection
to be served as provided under the Court’s CM/ECF system.

                                              /s/Holly C Hamm
                                              Holly C. Hamm




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